                    Case: 25-1577
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                                                                    CIRCUIT

                                                 No. 25-1577

                       Atlas Data Privacy Corporation, et al. vs. Joy Rockwell Enterprises, et al.


                                             ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

 Joy Rockwell Enterprises, Inc.
Indicate the party’s role IN THIS COURT (check only one):

         ____ Petitioner(s)             ✔ Appellant(s)
                                       ____                              ____ Intervenor(s)

         ____ Respondent(s)            ____ Appellee(s)                  ____ Amicus Curiae

(Type or Print) Counsel’s Name Kory  Ann Ferro
                               ________________________________________________________________
                                  ____ Mr.      ✔ Ms.
                                              ____        ____ Mrs. ____ Miss ____ Mx.

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Additional E-Mail Address (3)

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SIGNATURE OF COUNSEL: /s/Kory Ann Ferro

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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

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Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV. 10/20/2020
